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 1   DAVID A. TORRES AND ASSOCIATES
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 3   Tel: (6610326-0857
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 4   Email: lawtorres@aol.com
 5   Attorney for:
     ENRIQUE RODRIGUEZ
 6

 7

 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT of CALIFORNIA
10

11
                                                  )   Case No.: Case No. 1:12-CR-00418 AWI-
     UNITED STATES OF AMERICA,                    )   BAM
12
                                                  )
                   Plaintiff,                     )
13
                                                  )   STIPULATION AND ORDER TO FILE
            vs.                                   )   MOTION BEYOND DESIGNATED
14
                                                  )   FILING DATE
     ENRIQUE RODRIGUEZ,                           )
15
                                                  )
                   Defendant                      )
16

17
            TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
18
     ANTHONY W. ISHII AND THE UNITED STATES ATTORNEYS OFFICE:
19

20          IT IS HEREBY STIPULATED between AUSA Kathleen Servatious and Defense

21   Counsel, David A. Torres, that the Motions due date be extended from December 13, 2013 to

22   December 17, 2013.

23   //

24   //

25   //

     //



                                     Summary of Pleading - 1
           Case 1:12-cr-00418-AWI-BAM Document 42 Filed 12/13/13 Page 2 of 2


 1          IT IS SO STIPULATED.

 2                                                          Respectfully Submitted,

 3   DATED: 12/12/13                                        /s/ David A Torres        ___
                                                            DAVID A. TORRES
 4                                                          Attorney for Defendant
                                                            Enrique Rodriguez
 5

 6
     DATES: 12/12/13                                        /s/Kathleen Servatious ______
 7                                                          KATHLEEN SERVATIOUS
                                                            Assistant U.S. Attorney
 8

 9

10
                                              ORDER
11

12          IT IS SO ORDERED that counsel be allowed to file the above referenced motion

13   beyond the designated filing date December 17, 2013.

14
     IT IS SO ORDERED.
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     Dated: December 12, 2013
16
                                               SENIOR DISTRICT JUDGE
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                                      Summary of Pleading - 2
